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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 JORDAN GALLACHER and THOMAS
 KLAUS,                                                   Case No.       21-352

                       Plaintiffs,

        v.


 A&E TELEVISION NETWORKS, LLC,

                       Defendant.


                                         COMPLAINT

       Plaintiffs Jordan Gallacher and Thomas Klaus (collectively, “Plaintiffs”), through their

undersigned counsel, bring this complaint against Defendant A&E Television Networks, LLC

(“Defendant”), and assert as follows:

                                        INTRODUCTION

       1.      Plaintiffs bring this action against Defendant under Title III of the Americans with

Disabilities Act (the “ADA”), 42 U.S.C. § 12101 et seq. and its implementing regulations, in

connection with Defendant’s failure to offer blind patrons the full and equal enjoyment of its

streaming entertainment services.

       2.      Defendant offers consumers on-demand video streaming services through its

website and mobile application, A&E, where consumers can access live TV or a library of TV

shows and movies to watch at their leisure.

       3.      Defendant is responsible for its policies, practices, and procedures concerning its

streaming services’ development and maintenance.
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       4.      Defendant, however, fails to offer audio description tracks – an audio track that

blind and visually impaired people use to experience the exclusively visual portions of the show

or movie enjoyed by consumers without visual impairments – with its video content.

       5.      Plaintiffs are individuals with visual disabilities who, at all times relevant for

purposes of this action, have been legally disabled, as defined by the ADA, 42 U.S.C. § 12102(2).

       6.      Plaintiffs and others with visual disabilities who want to enjoy videos with audio

descriptions must use streaming services other than Defendant’s.

       7.      Although audio descriptions are widely available for TV shows and movies,

Defendant refuses to make audio descriptions available to its consumers through its streaming

services.

       8.      Because customers with visual disabilities cannot equally enjoy TV shows or

movies without audio descriptions, Defendant deprives them of the same options, privileges, and

advantages that it offers to other customers.

       9.      Plaintiffs seek the following declaratory and injunctive relief: (1) a declaration that

Defendant’s lack of audio descriptions violates the ADA as described in this complaint; and,

(2) an injunction requiring Defendant to provide audio descriptions and a mechanism to choose

audio descriptions for its streaming services so that they are fully and independently accessible to

blind and vision impaired individuals.

                                 JURISDICTION AND VENUE

       10.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 12188.

       11.     Plaintiffs’ claims asserted in this complaint arose in this judicial district, and

Defendant does substantial business in this judicial district.




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       12.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                             PARTIES

       13.     Plaintiff Jordan Gallacher is and, at all times relevant hereto, was a resident of this

District. Plaintiff is legally blind and is therefore a member of a protected class under the ADA,

42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

et seq. Mr. Gallacher knows that audio descriptions are not available through Defendant’s

streaming services. He has not subscribed to Defendant’s streaming services, as he knows trying

to use the services would be futile.

       14.     Plaintiff Thomas Klaus is and, at all times relevant hereto, was a resident of

Harrisburg, PA. Plaintiff is legally blind and is therefore a member of a protected class under the

ADA, 42 U.S.C. § 12102(2) and the regulations implementing the ADA set forth at 28 CFR §§

36.101 et seq. Mr. Klaus knows that audio descriptions are not available through Defendant’s

streaming services. He has not subscribed to Defendant’s streaming services, as he knows trying

to use the services would be futile.

       15.     Defendant A&E Television Networks, LLC, operates a content streaming network

with its principal place of business in New York, New York.

                                  FACTUAL ALLEGATIONS

       16.     Defendant offers digital video-streaming services to millions of Americans through

its platform, A&E.




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        17.        With A&E, consumers can access their “favorite A&E shows anytime, anywhere!

Watch full episodes as well as behind-the-scenes extras and highlights, on aetv.com on

your mobile device (iOS, Android, Kindle Fire) or on Roku, Apple TV or Xbox 360.” 1

        18.        Users can access A&E’s vast video selection, select a program to stream, and start

watching in the comfort of their own home within a matter of minutes.

        19.        Some of A&E’s programming is available to all users on its website with no

registration or login. The remainder of its content is “only available through participating TV

providers. To access it, you will need a subscription from a participating TV provider and a high-

speed internet connection.” 2

        20.        A&E is “free. It doesn’t cost anything extra than your current TV provider

subscription.” 3

        21.        Though Defendant may have centralized policies regarding the maintenance and

operation of its streaming services, Defendant has never had a plan or policy that is reasonably

calculated to make its streaming services fully accessible to, and independently usable by,

individuals with visual disabilities.

        22.        A&E’s blind and visually impaired on-demand users and potential users do not

have full access to A&E’s video-streaming services because Defendant does not provide audio

description tracks for video content provided on its platform.




1
  https://www.aetv.com/a-and-e-video-faq (last accessed March 16, 2021).
2
  Id.
3
  Id.


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       23.      Audio description is an auxiliary aid that allows blind and visually impaired people

to have a full audio-visual experience. 4 It is an audio track that narrates the key visual elements of

video content so that blind and visually impaired people can experience significant actions and

text-based information provided onscreen. Audio descriptions provide, for example, descriptions

of scenes, settings, costumes, body language, and other non-verbal cues that would otherwise be

missed by a person who is blind or visually impaired, but can be seen by those without visual

impairment.

       24.      Similar to closed captioning and subtitles, video providers offer audio description

tracks as an option for consumers to select during TV shows or movies.

       25.      A&E does not provide audio description tracks as an option for its live and on-

demand users.

       26.      Because A&E does not provide audio description tracks, Plaintiffs have not signed

up for its streaming service that they otherwise would be able to enjoy.

       27.      Plaintiffs are frustrated that Defendant denies them and other customers with visual

disabilities the same convenience of streaming TV shows and movies that it provides to customers

without visual disabilities.

       28.      This technology is not novel or unique. Netflix, Amazon Prime, and Hulu are just

a few examples of streaming services that offer audio descriptions for their content. Major

production studios also now provide audio description tracks for wide-released features.




4
 Congress defined auxiliary aids and services to include “…taped texts, or other effective methods
of making visually delivered materials available to individuals with visual impairments[.]”
42 U.S.C. § 12103(1)(B).


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       29.     Pursuant to the Twenty-First Century Communications and Video Accessibility

Act of 2010, many television channels are required to provide audio description for a certain

number of hours of prime-time content. See 47 C.F.R. § 79.3.

       30.     Plaintiffs seek the same full and equal access to Defendant’s on-demand streaming

content that Defendant affords to people without vision loss.

       31.     Absent the relief requested in this matter, Plaintiffs and individuals with visual

disabilities will continue to be denied full and equal enjoyment of Defendant’s streaming services.

                                 SUBSTANTIVE VIOLATION

                         Title III of the ADA, 42 U.S.C. § 12181 et seq.

       32.     The allegations set forth in the previous paragraphs are incorporated by reference.

       33.     Defendant’s website and mobile application are places of public accommodation as

defined by the ADA because they are, or are a part of, a “place of exhibition or entertainment,” a

“sales or rental establishment,” a “service establishment,” a “library,” a “gallery,” and/or a “place

of public display or collection.” 28 C.F.R. § 36.104; 42 U.S.C. § 12181(7), and Defendant owns,

operates, and controls the website and mobile application. See Gniewkowski v. Lettuce Entertain

You Enter., 251 F. Supp. 3d 908 (W.D. Pa. 2017); see also West v. Docusign, Inc., 2019 WL

3843054 (W.D. Pa. 2019).

       34.     Pursuant to Title III, “[n]o individual shall be discriminated against on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

or accommodations of any place of public accommodation by any person who owns, leases (or

leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).

       35.     Title III of the ADA imposes statutory and regulatory requirements to ensure

persons with disabilities are not excluded, denied services, segregated or otherwise treated




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differently than other individuals as a result of the absence of auxiliary aids and services. 42 U.S.C.

§ 12182(b)(2)(A); 28 C.F.R. §§ 36.303(a), (c). Under these provisions, public accommodations

must furnish appropriate auxiliary aids and services that comply with their effective

communication obligations. Id.

       36.      Thus, to the extent Defendant does not provide Plaintiffs with appropriate auxiliary

aids or full and equal access to its website and mobile application, it has violated the ADA.

       37.      Auxiliary aids and services include “effective methods of making visually delivered

materials available to individuals with visual impairments” such as audio description tracks.

42 U.S.C. § 12103(1)(B); see also 28 C.F.R. Part 36, Appendix C, Section 36.303 (noting that

audio description services “may be considered appropriate auxiliary aids and services”).

       38.      In order to be effective, auxiliary aids and services must be provided in accessible

formats, in a timely manner, and in such a way as to protect the privacy and independence of the

individual with a disability. 28 C.F.R. §§ 36.303(c)(1)(ii). To this end, the Ninth Circuit has

explained, “assistive technology is not frozen in time: as technology advances, [ ] accommodations

should advance as well.” Enyart v. Nat'l Conference of Bar Examiners, Inc., 630 F.3d 1153, 1163

(9th Cir. 2011).

       39.      By failing to provide its on-demand entertainment content and services in a manner

that is compatible with auxiliary aids, Defendant has engaged, directly, or through contractual,

licensing, or other arrangements, in illegal disability discrimination, as defined by Title III,

including without limitation:

             a) denying individuals with visual disabilities opportunities to participate in and

                benefit from the goods, content, and services available through its website and

                mobile application;




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              b) affording individuals with visual disabilities access to its website and mobile

                 application that is not equal to, or as effective as, that afforded to others;

              c) utilizing methods of administration that (i) have the effect of discriminating on the

                 basis of disability; or (ii) perpetuate the discrimination of others who are subject to

                 common administrative control;

              d) denying individuals with visual disabilities effective communication, thereby

                 excluding or otherwise treating them differently than others; and/or

              e) failing to make reasonable modifications in policies, practices, or procedures where

                 necessary to afford its services, privileges, advantages, or accommodations to

                 individuals with visual disabilities.

        40.      Defendant has discriminated, and continues to discriminate, against Plaintiffs by

failing to provide auxiliary aids and services such as audio descriptions and not making its website

and mobile application fully accessible to, and independently usable by, individuals with visual

disabilities.

        41.      Because of Defendant’s denial of full and equal access to blind or visually impaired

users, Plaintiffs have not signed up for or been able to enjoy A&E’s website and mobile

application.

        42.      Defendant’s ongoing violations of Title III have caused, and in the absence of an

injunction will continue to cause, harm to Plaintiffs and other individuals with visual disabilities.

        43.      Plaintiffs’ claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

        44.      Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiffs request relief as set forth below.




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                               PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request relief as follows:

               a.      A Declaratory Judgment that at the commencement of this action

       Defendant was in violation of the specific requirements of Title III of the ADA

       described above, and the relevant implementing regulations of the ADA, in that

       Defendant took no action that was reasonably calculated to ensure that website and

       mobile application are fully accessible to, and independently usable by, individuals

       with visual disabilities;

               b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and

       28 CFR § 36.504(a) which directs Defendant to take all steps necessary to bring its

       website and mobile application into full compliance with the requirements set forth

       in the ADA, and its implementing regulations, so that its website and mobile

       application are fully accessible to, and independently usable by, blind individuals,

       and which further directs that the Court shall retain jurisdiction for a period to be

       determined to ensure that Defendant has adopted and is following an institutional

       policy that will in fact cause it to remain fully in compliance with the law;

               c.      Payment of nominal damages, as the Court deems proper;

               d.      Payment of costs of suit;

               e.      Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. §

       12205 and 28 CFR § 36.505, including costs of monitoring Defendant’s compliance

       with the judgment. See People Against Police Violence v. City of Pittsburgh, 520

       F.3d 226, 235 (3d Cir. 2008) (“This Court, like other Courts of Appeals, allows fees

       to be awarded for monitoring and enforcing Court orders and judgments.”); see also




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             Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv01898-

             AJS (W.D. Pa. Jan. 11, 2018) (ECF 191); see also Access Now, Inc. v. Lax World,

             LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11);

                    f.     Whatever other relief the Court deems just, equitable and

             appropriate; and

                    g.     An Order retaining jurisdiction over this case until Defendant has

             complied with the Court’s Orders.




Dated: March 16, 2021                            Respectfully Submitted,


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